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Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
HAYWARD & ASSOCIATES PLLC
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

PROPOSED COUNSEL TO THE DEBTOR

                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                             §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT,                       § Case No. 19-34054
 L.P.,                                              § Chapter 11
                                                    §
 Debtor.                                            §
                                                    §

                         NOTICE OF APPEARANCE AND REQUEST FOR
                          SERVICE OF NOTICES AND OTHER PAPERS


          Zachery Z. Annable of Hayward & Associates PLLC, as proposed counsel for Debtor

Highland Capital Management, L.P., appears in the above-captioned bankruptcy case (the “Case”).

Pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure, Mr. Annable

requests that all notices, motions, pleadings, orders, plans, and disclosure statements filed, served,

or entered in this Case be served upon the undersigned at the following address:

                                       Zachery Z. Annable
                                       ZAnnable@HaywardFirm.com
                                       HAYWARD & ASSOCIATES PLLC
                                       10501 N. Central Expy, Ste. 106
                                       Dallas, Texas 75231

          This Notice of Appearance and Request for Service of Notices and Other Papers (the

“Notice of Appearance”) is not a waiver of any rights, including, without limitation, the right: (i)



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to have final orders in non-core matters entered only after de novo review by a judge of the

appropriate United States District Court; (ii) to trial by jury in any proceeding so triable in this

Case or any case, controversy, or proceeding related to this Case; and (iii) to have the United States

District Court withdraw the reference in any matters subject to mandatory or discretionary

withdrawal.

       DATED: December 10, 2019.

                                               Respectfully submitted,

                                               HAYWARD & ASSOCIATES PLLC

                                               By: /s/ Zachery Z. Annable
                                                   Zachery Z. Annable
                                                   Texas State Bar No. 24053075
                                                   ZAnnable@HaywardFirm.com
                                               10501 N. Central Expy., Suite 106
                                               Dallas, Texas 75231
                                               972.755.7100 (phone)
                                               972.755.7110 (facsimile)

                                               PROPOSED COUNSEL FOR THE DEBTOR


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Appearance has
been served electronically via the Court’s CM/ECF system upon all parties receiving electronic
notice in this Case.


                                               /s/ Zachery Z. Annable
                                               Zachery Z. Annable




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